     Case 1:09-cr-00097-JL   Document 143    Filed 01/12/10   Page 1 of 2




                 UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE



United States of America

     v.                                 Criminal No. 09-cr-097-08-JL

Tammy Marshall

                                O R D E R

     Defendant appeared for a bail revocation hearing pursuant to

18 U.S.C. § 3148.    Defendant, Tammy Marshall, stipulated to the

bail violations but sought new bail.        Unfortunately, when she is

“off her meds,” a state she prefers, she cannot resist

shoplifting.   She is unable to, and has not, gone to drug

treatment or testing in 2 ½ months.         She is out of control.          I

find that the defendant is unlikely to abide by any condition or

combination of conditions.      The conditions of release are

revoked.

     Accordingly, it is ORDERED that the defendant be detained

pending trial.

     The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody

pending appeal.    The defendant shall be afforded a reasonable
      Case 1:09-cr-00097-JL   Document 143   Filed 01/12/10   Page 2 of 2




opportunity for private consultation with defense counsel.                  On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding.

      SO ORDERED.

                                   ___________________________________
                                   James R. Muirhead
                                   United States Magistrate Judge

Date: January 12, 2010

cc:   Richard F. Monteith, Jr., Esq.
      Jennifer C. Davis, Esq.
      U.S. Marshal
      U.S. Probation




                                     2
